                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


  ROBERT A. MASON,                                   )
                                                     )
                Plaintiff,                           )
                                                     )
  v.                                                 )      No.:    3:12-cv-469-PLR-HBG
                                                     )
  SEVIER COUNTY, TENNESSEE,                          )
  et al.,                                            )
                                                     )
                Defendants.                          )


                               MEMORANDUM AND ORDER


         This is a civil rights action pursuant to 42 U.S.C. § 1983, which is scheduled for a jury

  trial on August 18, 2014. The parties have filed a joint motion for continuance or to amend

  the Scheduling Order. For good cause shown, the motion [Doc. 71] is GRANTED. It is

  ORDERED that the trial date of August 18, 2014, is CANCELLED and the trial is

  rescheduled for Tuesday, May 19, 2015, at 9:00 a.m. It is also ORDERED that the final

  pretrial conference, previously scheduled for August 11, 2014, is CANCELLED and is

  RESCHEDULED for Monday, May 11, 2015, at 2:00 p.m. All pretrial scheduling

  deadlines shall be applied as calculated from the new trial date and according to the same

  time limitations set forth in the Court's scheduling order [Doc. 29].

                ENTER:




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